Case 1:17-bk-12377         Doc 9     Filed 06/30/17 Entered 06/30/17 09:31:37                 Desc Main
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                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION – CINCINNATI

In re:                                              :   Case No 17-12377
         James M. Lister                            :
         Amy F. Lister                              :   Chapter 13
                                                    :
         Debtor(s)                                  :   Judge Buchanan
                                                    :
                                                    :   NOTICE OF FILING REAL ESTATE
                                                    :   APPRAISAL – 10038 St. Rt. 775, Scottstown,
                                                    :   OHIO 45678

Now comes the Debtor(s), by and through counsel, and hereby gives notice of the filing of the valuation
of real estate located 10038 St. Rt. 775, Scottstown, Ohio 45678. Schedule A reflected the value of
Debtor’s interest in the property as $122,000.00. The listed value of the property is $122,000.00.
.
                                                 Respectfully submitted,

                                                 /s/ Nicholas A. Zingarelli (OH-0079110)
                                                 Nicholas A. Zingarelli (OH-0079110)
                                                 ZINGARELLI AND LAWRENCE, LLC
                                                 810 Sycamore Street – 3rd Floor
                                                 Cincinnati, OH 45202
                                                 Ph: (513) 338-1910
                                                 Fx: (513) 338-1920
                                                 nick@zingarelliandlawrence.com


                                    CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and accurate copy of the foregoing has been duly served upon
the parties as listed below, in accordance with applicable Bankruptcy and Local Rules of Procedure by
U.S. mail or electronic service, if so permitted as to such party, June 30, 2017.

                                                 /s/ Nicholas A. Zingarelli (OH-0079110)
                                                 Nicholas A. Zingarelli (OH-0079110)

Margaret A. Burks, Chapter 13 Trustee
(via ECF)

U.S. Trustee
(via ECF)
      Case 1:17-bk-12377               Doc 9         Filed
                                                      Hunters06/30/17           Entered 06/30/17 09:31:37
                                                             Appraisal Service (937)499-4329                                               Desc Main
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FROM:
                                                                                                                               INVOICE
                                                                                                                                   INVOICE NUMBER
 Hunters Appraisal Service
 8648 Old Kellogg Rd                                                                                                                 20170419
 Cincinnati, OH 45255-4651                                                                                                             DATE
                                                                                                                                     4-25-2017
 Telephone Number: (513) 262-1472               Fax Number:
                                                                                                                                     REFERENCE
TO:                                                                                                        Internal Order #:         20170419
                                                                                                           Lender Case #:
 James $ Amy Lister                                                                                        Client File #:
 10038 State Rout 775
                                                                                                           Main File # on form:      20170419
 Scottown, Ohio 45678
                                                                                                           Other File # on form:

 Telephone Number: 304-840-8668                 Fax Number:                                                Federal Tax ID:

 Alternate Number:                              E-Mail:                                                    Employer ID:




DESCRIPTION
             Lender:    N/A                                                           Client: Zingarelli Law
 Purchaser/Borrower:    N/A
   Property Address:    10038 State Route 775
                City:   Scottown
             County:    Lawrence                                                      State: OH                                    Zip: 45678
   Legal Description:   0.56 Windsor Township 10038 State Route 775



FEES                                                                                                                                                  AMOUNT
Appraisal of 10038 State Route 775                                                                                                                        500.00




                                                                                                                             SUBTOTAL                     500.00

PAYMENTS                                                                                                                                              AMOUNT
Check #:                    Date: 4-25-2017      Description:                                                                                             500.00
Check #:                    Date:                Description:
Check #:                    Date:                Description:
                                                                                                                             SUBTOTAL                     500.00

Paid in Full                                                                                                                 TOTAL DUE            $         0.00


                                                           Please Return This Portion With Your Payment

FROM:                                                                                                     AMOUNT DUE:                         $            0.00

                                                                                                          AMOUNT ENCLOSED:                    $
 James $ Amy Lister
 10038 State Rout 775                                                                                                              INVOICE NUMBER
 Scottown, Ohio 45678                                                                                                                20170419
                                                                                                                                       DATE
 Telephone Number: 304-840-8668                 Fax Number:                                                                          4-25-2017
 Alternate Number:                              E-Mail:

                                                                                                                                     REFERENCE
                                                                                                           Internal Order #:         20170419
TO:                                                                                                        Lender Case #:
                                                                                                           Client File #:
 Hunters Appraisal Service
                                                                                                           Main File # on form:      20170419
 8648 Old Kellogg Rd
                                                                                                           Other File # on form:
 Cincinnati, OH 45255-4651
                                                                                                           Federal Tax ID:
                                                                                                           Employer ID:

                                       Form NIV1 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                              Case 1:17-bk-12377                           Doc 9           Filed
                                                                                            Hunters06/30/17           Entered 06/30/17 09:31:37
                                                                                                   Appraisal Service (937)499-4329                                                    Desc Main
                                                                                           Document             Page 3 of 15
                                                                          Uniform Residential Appraisal Report                                        File # 20170419
               The purpose of this summary appraisal report is to provide the lender/client with an accurate, and adequately supported, opinion of the market value of the subject property.
               Property Address 10038 State Route 775                                                                    City Scottown                                     State OH       Zip Code 45678
               Borrower N/A                                                                  Owner of Public Record James & Amy Lister                                     County Lawrence
               Legal Description 0.56 Windsor Township 10038 State Route 775
               Assessor's Parcel # 32-018-1500.000 & 32-018-1301.000                                                     Tax Year 2017                                     R.E. Taxes $ 1,507
               Neighborhood Name Windsor Township                                                                        Map Reference 26580                               Census Tract 0505.00
SUBJECT




               Occupant         Owner          Tenant         Vacant                         Special Assessments $ None                                        PUD    HOA $                per year    per month
               Property Rights Appraised            Fee Simple           Leasehold            Other (describe)
               Assignment Type            Purchase Transaction              Refinance Transaction             Other (describe) Fair Market Value
               Lender/Client     Zingarelli Law                                                 Address 810 Sycamore St. 3rd Floor Cincinnati, Ohio 54202
               Is the subject property currently offered for sale or has it been offered for sale in the twelve months prior to the effective date of this appraisal?                    Yes        No
               Report data source(s) used, offering price(s), and date(s).             County Auditor;

               I      did       did not analyze the contract for sale for the subject purchase transaction. Explain the results of the analysis of the contract for sale or why the analysis was not
               performed.     N/A
CONTRACT




               Contract Price $                       Date of Contract N/A                  Is the property seller the owner of public record?        Yes         No Data Source(s)
               Is there any financial assistance (loan charges, sale concessions, gift or downpayment assistance, etc.) to be paid by any party on behalf of the borrower?                                  Yes      No
               If Yes, report the total dollar amount and describe the items to be paid.



               Note: Race and the racial composition of the neighborhood are not appraisal factors.
                            Neighborhood Characteristics                                      One-Unit Housing Trends                                                 One-Unit Housing             Present Land Use %
               Location      Urban              Suburban           Rural          Property Values         Increasing           Stable             Declining           PRICE         AGE          One-Unit          20 %
               Built-Up      Over 75%           25-75%             Under 25%      Demand/Supply           Shortage             In Balance         Over Supply        $ (000)            %
                                                                                                                                                                                    (yrs)        2-4 Unit
NEIGHBORHOOD




               Growth        Rapid              Stable             Slow           Marketing Time          Under 3 mths         3-6 mths           Over 6 mths
                                                                                                                                                         5    Low     1                 %        Multi-Family
               Neighborhood Boundaries          Neighborhood boundaries are defined as State Route 35 to the north, The                                400 High      150              5%         Commercial
               Ohio River to the east and south and State Route 23 to the west.                                                                        100 Pred.      50             75 %        Other
               Neighborhood Description         The subject is located in a rural area just north of Proctorville, Ohio within Windsor Township. This market is improved
               with average quality homes together with working farms. There are a variety of ages, styles and sizes. Most homes are in average condition and
               offer similar utility and appeal. Schools, shopping, employment, recreation and other market amenities are conveniently located.
               Market Conditions (including support for the above conclusions)           The general market conditions within the subject's area are found to be stabilizing at this
               time. An balance between supply and demand is noted. All forms of mortgage financing (FHA, VA, Conventional) are available at market rate and
               terms. Demand is consistent despite the current economic uncertainty. See Attached Market Conditions Addendum.
               Dimensions Mosty Rectangular                                               Area 1.76 Acres                            Shape Mostly Rectangular     View Similar Homes
               Specific Zoning Classification R                                           Zoning Description Single Family Residential
               Zoning Compliance          Legal        Legal Nonconforming (Grandfathered Use)          No Zoning         Illegal (describe)
               Is the highest and best use of subject property as improved (or as proposed per plans and specifications) the present use?             Yes      No If No, describe

               Utilities         Public Other (describe)                                       Public Other (describe)                      Off-site Improvements - Type              Public     Private
               Electricity                                                      Water                                                       Street Asphalt
SITE




               Gas                               Propane                        Sanitary Sewer              Septic/Typ.                     Alley None
               FEMA Special Flood Hazard Area               Yes          No FEMA Flood Zone X                   FEMA Map # 39087C0285E                                   FEMA Map Date 4/2/2015
               Are the utilities and off-site improvements typical for the market area?              Yes      No If No, describe
               Are there any adverse site conditions or external factors (easements, encroachments, environmental conditions, land uses, etc.)?                     Yes      No If Yes, describe
               No adverse site conditions, encroachments, easements or external conditions were observed at the time of inspection. Septic systems area
               typical for this market. No adverse effect to marketability or value.

                            General Description                                      Foundation                        Exterior Description           materials/condition       Interior              materials/condition
               Units       One      One with Accessory Unit            Concrete Slab             Crawl Space           Foundation Walls          Concrete Block/Avg.            Floors         HardWood/Carp/Av.
               # of Stories          One                               Full Basement             Partial Basement      Exterior Walls            Frame/Avg.                     Walls          Drywall/Avg.
               Type        Det.     Att.      S-Det./End Unit      Basement Area                       Crawl sq.ft.    Roof Surface              Fiberglass/Avg.                Trim/Finish    Stained Wood/Ave.
                    Existing      Proposed        Under Const.     Basement Finish                        N/A     %    Gutters & Downspouts      Aluminum/Avg.                  Bath Floor     Ceramic/Avg.
               Design (Style)        Ranch/Frame                       Outside Entry/Exit           Sump Pump          Window Type               Double Hung/Avg.               Bath Wainscot Ceramic/Avg.
               Year Built            1966                          Evidence of         Infestation                     Storm Sash/Insulated      Yes/Yes                        Car Storage          None
               Effective Age (Yrs) 25                                  Dampness            Settlement                  Screens                   Yes/Average                        Driveway     # of Cars    5
               Attic                        None                   Heating        FWA          HWBB          Radiant   Amenities                           Woodstove(s) #       Driveway Surface     Gravel/Asphalt
                    Drop Stair              Stairs                     Other                 Fuel Propane                  Fireplace(s) #                  Fence                    Garage       # of Cars    2
                    Floor                   Scuttle                Cooling         Central Air Conditioning                Patio/Deck                      Porch                    Carport      # of Cars
                    Finished                Heated                     Individual                 Other                    Pool                            Other                    Att.          Det.        Built-in
IMPROVEMENTS




               Appliances        Refrigerator       Range/Oven             Dishwasher   Disposal     Microwave     Washer/Dryer   Other (describe)
               Finished area above grade contains:                    8 Rooms              3 Bedrooms             2 Bath(s)        2,296 Square Feet of Gross Living Area Above Grade
               Additional features (special energy efficient items, etc.).       Hardwood Flooring; 2 Kitchens; Porches. No personal property is included in the Final Appraised
               Value.
               Describe the condition of the property (including needed repairs, deterioration, renovations, remodeling, etc.).
                                                                                                             The Subject property has been adequately
               maintained and shows minimal signs of deferred maintenance to the interior and exterior. All mechanicals were found to be in working condition
               and appear adequate for the structure.


               Are there any physical deficiencies or adverse conditions that affect the livability, soundness, or structural integrity of the property?                          Yes       No If Yes, describe
               There are no physical or functional deficiencies or adverse conditions noted at the time of inspection.


               Does the property generally conform to the neighborhood (functional utility, style, condition, use, construction, etc.)?
                                                                                                                          Yes                                               No If No, describe
               The subject conforms to the surrounding neighborhood in terms of utility, style, condition, quality and appeal.


 Freddie Mac Form 70 March 2005                                                                              Page 1 of 6                                                        Fannie Mae Form 1004 March 2005


                                                                          Form 1004 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                          Case 1:17-bk-12377                          Doc 9          Filed 06/30/17 Entered 06/30/17 09:31:37                                                 Desc Main
                                                                                                     Document     Page 4 of 15
                                                                                    Uniform Residential Appraisal Report                                                               File # 20170419
                            There are          3     comparable properties currently offered for sale in the subject neighborhood ranging in price from $ 99,000                                to $ 149,900              .
                            There are          7     comparable sales in the subject neighborhood within the past twelve months ranging in sale price from $ 85,000                                 to $ 142,000              .
                                         FEATURE                        SUBJECT                      COMPARABLE SALE # 1                            COMPARABLE SALE # 2                        COMPARABLE SALE # 3
                            Address 10038 State Route 775                                  8615 State Route 7                           1062 County Road 104                           11767 State Route 217
                                         Scottown, OH 45678                                Proctorville, Ohio 45669                     Chesapeake, OH 45619                           Scottown, OH 45678
                            Proximity to Subject                                           7.37 miles SE                                7.53 miles SW                                  1.26 miles SE
                            Sale Price                            $                                               $          117,000                             $          125,000                       $          115,000
                            Sale Price/Gross Liv. Area            $                sq.ft. $        74.47 sq.ft.                         $          65.79 sq.ft.                        $    117.11 sq.ft.
                            Data Source(s)                                                 Auditor; MLS; Realist                        Auditor; MLS; Realist                          Auditor; MLS; Realist
                            Verification Source(s)                                         Realist; Outside View                        Realist; Outside View                          Realist; Outside View
                            VALUE ADJUSTMENTS                         DESCRIPTION              DESCRIPTION          +(-) $ Adjustment         DESCRIPTION          +(-) $ Adjustment      DESCRIPTION       +(-) $ Adjustment
                            Sales or Financing                                             Conventional                                 Conventional                                   Conventional
                            Concessions                                                    Undisclosed                                  Undisclosed                                    Undisclosed
                            Date of Sale/Time                                              9-29-2016 Clsd.                              7-1-2016 Clsd.                                 7-7-2016 Clsd.
                            Location                              Windsor Twp.             Rome Twp.                                    Union Twp.                                     Windsor Twp.
                            Leasehold/Fee Simple                  Fee Simple               Fee Simple                                   Fee Simple                                     Fee Simple
                            Site                                  1.76 Acres               1.0 Acres                           +5,000 1.80 Acres                                       2.5 Acres                        -5,000
                            View                                  Similar Homes Similar Homes                                           Similar Homes                                  Similar Homes
                            Design (Style)                        Ranch/Frame              Ranch/Frame                                  Ranch/Frame                                    Ranch/Frame
                            Quality of Construction               Average                  Average                                      Average                                        Average
                            Actual Age                            51 Yrs.                  51 Yrs./Similar                              52 Yrs./Similar                                67 Yrs./Similar
                            Condition                             Average                  Average                                      Average                                        Average
                            Above Grade                            Total Bdrms. Baths Total Bdrms. Baths                                 Total Bdrms. Baths                            Total Bdrms. Baths
                            Room Count                               8       3       2       7       3       2                              8       4        2                -2,500     5     2    2                +2,500
                            Gross Living Area                             2,296 sq.ft.             1,571 sq.ft.                +7,300             1,900 sq.ft.                +4,000           982 sq.ft.           +13,100
                            Basement & Finished                   Crawl                    Crawl                                        Partial                               -3,000   Partial                       -3,000
                            Rooms Below Grade                     N/A                      N/A                                          Unfinished                                     Unfinished
                            Functional Utility                    Average                  Average                                      Average                                        Average
SALES COMPARISON APPROACH




                            Heating/Cooling                       FWA/No CAC               FWA/CAC                             -2,000 FWA/CAC                                 -2,000   FWA/CAC                        -2,000
                            Energy Efficient Items                Insulated Wndw Similar Window                                         Similar Window                                 Similar Window
                            Garage/Carport                        2 Car/Detached 2 Car/Detached                                         2 Car/Detached                                 2 Car/Detached
                            Porch/Patio/Deck                      Porch/Patio              Similar                                      Similar                                        Similar
                            Fireplaces                            No Fireplace             Fireplace                           -1,000 Fireplace                               -1,000   No Fireplace
                            Amenities                             See Features             Similar Features                             Similar Features                               Similar Features
                            Days on Market                        DOM N/A                  DOM N/A                                      DOM N/A                                        DOM N/A
                            Net Adjustment (Total)                                                 +          - $               9,300              +          - $             -4,500            +    - $               5,600
                            Adjusted Sale Price                                           Net Adj.         7.9 %                        Net   Adj.         3.6 %                       Net Adj.    4.9 %
                            of Comparables                                                Gross Adj. 13.1 % $                126,300 Gross Adj. 10.0 % $                    120,500    Gross Adj. 22.3 % $          120,600
                            I       did        did not research the sale or transfer history of the subject property and comparable sales. If not, explain



                            My research          did        did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                            Data Source(s)       Auditor's Office; MLS-Cincinnati-Dayton; Realist.
                            My research          did        did not reveal any prior sales or transfers of the comparable sales for the year prior to the date of sale of the comparable sale.
                            Data Source(s)       Auditor's Office; MLS-Cincinnati-Dayton; Realist.
                            Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                              ITEM                                     SUBJECT                          COMPARABLE SALE #1                        COMPARABLE SALE #2                    COMPARABLE SALE #3
                            Date of Prior Sale/Transfer                 No Sale within 36 Months                 No Sale within 12 Months                  No Sale within 12 Months                No Sale within 12 Months
                            Price of Prior Sale/Transfer                N/A                                      N/A                                       N/A                                     N/A
                            Data Source(s)                              Auditor/Realist/MLS                      Auditor/Realist/MLS                       Auditor/Realist/MLS                     Auditor/Realist/MLS
                            Effective Date of Data Source(s)            4/2017                                   4/2017                                    4/2017                                  4/2017
                            Analysis of prior sale or transfer history of the subject property and comparable sales                  The Subject nor the Comparables have sold or been transferred within
                            the past 3 year period or within the past 12 months, respectively.




                            Summary of Sales Comparison Approach    Due to the subject's rural market area, it was necessary to exceed 7 miles in the search for comparable
                            sales. This is typical and accepted when appraising within rural areas. Due to the limited turnover of similar homes in this area, it was necessary
                            to use sales slightly older than 6 months but within the 12 month guideline. The sales used are the most recent, most similar and closest sales
                            found. To use alternative comparable sales would require greater distances, larger adjustments and a less supportable final appraised value. The
                            subject has a mobile home on the property that is occupied by there daughter. This is typical for this rural area. The mobile home is not given any
                            value in this report since it is personal property and not real estate. Most weight is given to comparable sale #1 due to being located closest to the
                            subject property. The subject is also being used as a small day care which is legal use of the property and the reason for the 2nd kitchen.

                            Indicated Value by Sales Comparison Approach $  122,000
                            Indicated Value by: Sales Comparison Approach $     122,000   Cost Approach (if developed) $            Income Approach (if developed) $ N/A
                            The strongest consideration is given to the Comparable Sales Analysis Approach since it reflects the attitudes of typical buyers and sellers in
                            today's real estate market. The Cost Approach has not been developed due to the age and difficulty in estimating the accrued depreciation. Due
RECONCILIATION




                            to the limited rental data in this area, the Income Approach has not been developed and is not applicable in this appraisal.
                            This appraisal is made        "as is",       subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been
                            completed,         subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed, or subject to the
                            following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair:

                            Based on a complete visual inspection of the interior and exterior areas of the subject property, defined scope of work, statement of assumptions and limiting
                            conditions, and appraiser’s certification, my (our) opinion of the market value, as defined, of the real property that is the subject of this report is
                            $     122,000      , as of           4/25/2017           , which is the date of inspection and the effective date of this appraisal.
   Freddie Mac Form 70 March 2005                                                                                     Page 2 of 6                                                        Fannie Mae Form 1004 March 2005


                                                                                     Form 1004 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                    Case 1:17-bk-12377                          Doc 9          Filed 06/30/17 Entered 06/30/17 09:31:37                                                 Desc Main
                                                                                               Document     Page 5 of 15
                                                                              Uniform Residential Appraisal Report                                                            File # 20170419
                      Chapter 13 Office Requirements:
                      Current value of home during a normal marketing time is $122,000.
                      The subject original sale price and sale date is $79,500 on 10-9-1996.
                      County auditor value is $151,300.
                      Market conditions for the subject have been effected by short sales and bank owned 'reo' sales. The number of these types of sales has
                      impacted the market value of all homes in this area.
                      Form 1004 has been used per the Chapter 13 Office request.
ADDITIONAL COMMENTS




                                                                                         COST APPROACH TO VALUE (not required by Fannie Mae)
                      Provide adequate information for the lender/client to replicate the below cost figures and calculations.
                      Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value)               Land values were extracted from recent, similar
                      vacant land sales in this market.
COST APPROACH




                      ESTIMATED           REPRODUCTION OR          REPLACEMENT COST NEW                                  OPINION OF SITE VALUE                                                  =$       20,000
                      Source of cost data                                                                                DWELLING                              Sq.Ft. @ $                       =$
                      Quality rating from cost service              Effective date of cost data                                                                Sq.Ft. @ $                       =$
                      Comments on Cost Approach (gross living area calculations, depreciation, etc.)                                                                                            =$
                      The Cost Approach has not been developed due to the age and                                        Garage/Carport                      Sq.Ft. @ $                         =$
                      difficulty in estimating the accrued depreciation.                                                 Total Estimate of Cost-New                                             =$
                                                                                                                         Less              Physical        Functional        External
                                                                                                                         Depreciation                                                           =$(             )
                                                                                                                         Depreciated Cost of Improvements                                       =$
                                                                                                                         "As-is" Value of Site Improvements                                     =$

                      Estimated Remaining Economic Life (HUD and VA only)                                50 Years INDICATED VALUE BY COST APPROACH                        =$
                                                                                    INCOME APPROACH TO VALUE (not required by Fannie Mae)
INCOME




                      Estimated Monthly Market Rent $           N/A               X Gross Rent Multiplier           N/A          =$            N/A         Indicated Value by Income Approach
                      Summary of Income Approach (including support for market rent and GRM)              The Income Approach was not completed due to a lack of rental data in this
                      market.
                                                                                         PROJECT INFORMATION FOR PUDs (if applicable)
                      Is the developer/builder in control of the Homeowners’ Association (HOA)?                Yes       No      Unit type(s)        Detached          Attached
                      Provide the following information for PUDs ONLY if the developer/builder is in control of the HOA and the subject property is an attached dwelling unit.
                      Legal Name of Project
                      Total number of phases                             Total number of units                                Total number of units sold
PUD INFORMATION




                      Total number of units rented                       Total number of units for sale                       Data source(s)
                      Was the project created by the conversion of existing building(s) into a PUD?                 Yes       No If Yes, date of conversion.
                      Does the project contain any multi-dwelling units?              Yes        No Data Source
                      Are the units, common elements, and recreation facilities complete?                  Yes        No If No, describe the status of completion.



                      Are the common elements leased to or by the Homeowners’ Association?                   Yes        No If Yes, describe the rental terms and options.

                      Describe common elements and recreational facilities.


  Freddie Mac Form 70 March 2005                                                                                Page 3 of 6                                                       Fannie Mae Form 1004 March 2005


                                                                               Form 1004 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                          Uniform Residential Appraisal Report                                        File # 20170419

  This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit;
  including a unit in a planned unit development (PUD). This report form is not designed to report an appraisal of a
  manufactured home or a unit in a condominium or cooperative project.

  This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value,
  statement of assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended
  use, intended user, definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may
  expand the scope of work to include any additional research or analysis necessary based on the complexity of this appraisal
  assignment. Modifications or deletions to the certifications are also not permitted. However, additional certifications that do
  not constitute material alterations to this appraisal report, such as those required by law or those related to the appraiser’s
  continuing education or membership in an appraisal organization, are permitted.

  SCOPE OF WORK:        The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
  reporting requirements of this appraisal report form, including the following definition of market value, statement of
  assumptions and limiting conditions, and certifications. The appraiser must, at a minimum: (1) perform a complete visual
  inspection of the interior and exterior areas of the subject property, (2) inspect the neighborhood, (3) inspect each of the
  comparable sales from at least the street, (4) research, verify, and analyze data from reliable public and/or private sources,
  and (5) report his or her analysis, opinions, and conclusions in this appraisal report.

  INTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the
  subject of this appraisal for a mortgage finance transaction.

  INTENDED USER:        The intended user of this appraisal report is the lender/client.

  DEFINITION OF MARKET VALUE:          The most probable price which a property should bring in a competitive and open
  market under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming
  the price is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and
  the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated; (2) both
  parties are well informed or well advised, and each acting in what he or she considers his or her own best interest; (3) a
  reasonable time is allowed for exposure in the open market; (4) payment is made in terms of cash in U. S. dollars or in terms
  of financial arrangements comparable thereto; and (5) the price represents the normal consideration for the property sold
  unaffected by special or creative financing or sales concessions* granted by anyone associated with the sale.

  *Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are
  necessary for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are
  readily identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing
  adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutional
  lender that is not already involved in the property or transaction. Any adjustment should not be calculated on a mechanical
  dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market’s
  reaction to the financing or concessions based on the appraiser’s judgment.

  STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS:                             The appraiser’s certification in this report is
  subject to the following assumptions and limiting conditions:

  1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
  to it, except for information that he or she became aware of during the research involved in performing this appraisal. The
  appraiser assumes that the title is good and marketable and will not render any opinions about the title.

  2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements.
  The sketch is included only to assist the reader in visualizing the property and understanding the appraiser’s determination
  of its size.

  3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency
  (or other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
  identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or
  implied, regarding this determination.

  4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
  unless specific arrangements to do so have been made beforehand, or as otherwise required by law.

  5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the
  presence of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or
  she became aware of during the research involved in performing the appraisal. Unless otherwise stated in this appraisal
  report, the appraiser has no knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the
  property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic substances,
  adverse environmental conditions, etc.) that would make the property less valuable, and has assumed that there are no such
  conditions and makes no guarantees or warranties, express or implied. The appraiser will not be responsible for any such
  conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
  Because the appraiser is not an expert in the field of environmental hazards, this appraisal report must not be considered as
  an environmental assessment of the property.

  6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
  completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will
  be performed in a professional manner.




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  APPRAISER’S CERTIFICATION:          The Appraiser certifies and agrees that:

  1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in
  this appraisal report.

  2. I performed a complete visual inspection of the interior and exterior areas of the subject property. I reported the condition
  of the improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the
  livability, soundness, or structural integrity of the property.

  3. I performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal
  Practice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in
  place at the time this appraisal report was prepared.

  4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales
  comparison approach to value. I have adequate comparable market data to develop a reliable sales comparison approach
  for this appraisal assignment. I further certify that I considered the cost and income approaches to value but did not develop
  them, unless otherwise indicated in this report.

  5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for
  sale of the subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject
  property for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

  6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
  to the date of sale of the comparable sale, unless otherwise indicated in this report.

  7. I selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

  8. I have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that
  has been built or will be built on the land.

  9. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
  property and the comparable sales.

  10. I verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in
  the sale or financing of the subject property.

  11. I have knowledge and experience in appraising this type of property in this market area.

  12. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
  services, tax assessment records, public land records and other such data sources for the area in which the property is located.

  13. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from
  reliable sources that I believe to be true and correct.

  14. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject
  property, and the proximity of the subject property to adverse influences in the development of my opinion of market value. I
  have noted in this appraisal report any adverse conditions (such as, but not limited to, needed repairs, deterioration, the
  presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) observed during the inspection of the
  subject property or that I became aware of during the research involved in performing this appraisal. I have considered these
  adverse conditions in my analysis of the property value, and have reported on the effect of the conditions on the value and
  marketability of the subject property.

  15. I have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all
  statements and information in this appraisal report are true and correct.

  16. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which
  are subject only to the assumptions and limiting conditions in this appraisal report.

  17. I have no present or prospective interest in the property that is the subject of this report, and I have no present or
  prospective personal interest or bias with respect to the participants in the transaction. I did not base, either partially or
  completely, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital
  status, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property or of the
  present owners or occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law.

  18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
  conditioned on any agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a
  predetermined specific value, a predetermined minimum value, a range or direction in value, a value that favors the cause of
  any party, or the attainment of a specific result or occurrence of a specific subsequent event (such as approval of a pending
  mortgage loan application).

  19. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. If I
  relied on significant real property appraisal assistance from any individual or individuals in the performance of this appraisal
  or the preparation of this appraisal report, I have named such individual(s) and disclosed the specific tasks performed in this
  appraisal report. I certify that any individual so named is qualified to perform the tasks. I have not authorized anyone to make
  a change to any item in this appraisal report; therefore, any change made to this appraisal is unauthorized and I will take no
  responsibility for it.

  20. I identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that
  ordered and will receive this appraisal report.


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  21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the
  borrower; the mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises; other
  secondary market participants; data collection or reporting services; professional appraisal organizations; any department,
  agency, or instrumentality of the United States; and any state, the District of Columbia, or other jurisdictions; without having to
  obtain the appraiser’s or supervisory appraiser’s (if applicable) consent. Such consent must be obtained before this appraisal
  report may be disclosed or distributed to any other party (including, but not limited to, the public through advertising, public
  relations, news, sales, or other media).

  22. I am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain
  laws and regulations. Further, I am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice
  that pertain to disclosure or distribution by me.

  23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns, mortgage
  insurers, government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part
  of any mortgage finance transaction that involves any one or more of these parties.

  24. If this appraisal report was transmitted as an “electronic record” containing my "electronic signature," as those terms are
  defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
  appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
  valid as if a paper version of this appraisal report were delivered containing my original hand written signature.

  25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or
  criminal penalties including, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States
  Code, Section 1001, et seq., or similar state laws.

  SUPERVISORY APPRAISER’S CERTIFICATION:                     The Supervisory Appraiser certifies and agrees that:

  1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser’s
  analysis, opinions, statements, conclusions, and the appraiser’s certification.

  2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser’s analysis, opinions,
  statements, conclusions, and the appraiser’s certification.

  3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
  appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

  4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and
  promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
  report was prepared.

  5. If this appraisal report was transmitted as an "electronic record"              containing my "electronic signature," as those terms are
  defined in applicable federal and/or state laws (excluding audio and               video recordings), or a facsimile transmission of this
  appraisal report containing a copy or representation of my signature,               the appraisal report shall be as effective, enforceable and
  valid as if a paper version of this appraisal report were delivered                containing my original hand written signature.




APPRAISER                                                                        SUPERVISORY APPRAISER (ONLY IF REQUIRED)

Signature                                                                        Signature
Name Jeffrey Hunter                                                              Name
Company Name    Hunters Appraisal Service                                        Company Name
Company Address     8648 Old Kellogg Rd. Cincinnati, Ohio 45255                  Company Address

Telephone Number         513-262-1472                                            Telephone Number
Email Address       hunterjeff@yahoo.com                                         Email Address
Date of Signature and Report          04/26/2017                                 Date of Signature
Effective Date of Appraisal        4/25/2017                                     State Certification #
State Certification #      430334                                                or State License #
or State License #                                                               State
or Other (describe)                              State #                         Expiration Date of Certification or License
State OH
Expiration Date of Certification or License       08/25/2017                     SUBJECT PROPERTY

ADDRESS OF PROPERTY APPRAISED                                                          Did not inspect subject property
 10038 State Route 775
                                                                                       Did inspect exterior of subject property from street
                                                                                       Date of Inspection
 Scottown, OH 45678
APPRAISED VALUE OF SUBJECT PROPERTY $                                                  Did inspect interior and exterior of subject property
                                                        122,000
                                                                                       Date of Inspection
LENDER/CLIENT
Name Nick Zingarelli
                                                                                 COMPARABLE SALES
Company Name      Zingarelli Law
Company Address      810 Sycamore St. 3rd Floor Cincinnati, Ohio                       Did not inspect exterior of comparable sales from street
54202                                                                                  Did inspect exterior of comparable sales from street
Email Address   nick@zingarellilaw.com                                                 Date of Inspection



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                                            Form 1004 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                Supplemental Addendum                   File No. 20170419
Borrower           N/A
Property Address   10038 State Route 775
City               Scottown                                       County Lawrence                               State OH   Zip Code 45678
Lender/Client      Zingarelli Law


 Intended User:
 The Intended User of this appraisal report is Zingarelli Law. The Intended Use is to evaluate the property that is the
 subject of this appraisal for fair market value, subject to the stated Scope of Work, purpose of the appraisal,
 reporting requirements of this appraisal report form, and Definition of Market Value. No additional Intended Users
 are identified by the appraiser.

 Purpose of the Appraisal:
 The purpose of this report is to provide an "opinion of value" (estimated value) for the subject property, as described
 herein, as of the reported appraisal date. The estimated market value is based on ownership in fee simple estates.

 Effective Date:
 For the purpose of this report, the effective date of the appraisal is, in fact, the date of inspection (as defined herein)
 and subsequently, the date of the value reported.

 Scope of the Assignment:
 The process which was involved to satisfactorily complete this assignment included, but was not necessarily limited
 to:
 An interior and exterior inspection of the property and grounds.
 A review of the public records covering the subject property to ascertain specific data pertaining to the property being
 appraised and to verify the existence, if any, of adverse easements or conditions which were readily disclosed to
 the appraiser.
 The appraiser assumes no liability for the content of public records and makes no guarantees regarding their
 accuracy.
 The market was then searched in an attempt to locate the best possible comparable sales (most similar to the
 property under appraisement) by use of public records, the local Multiple Listing Service, and/or PACE (a service
 that compiles all recorded sales and available information concerning the property).
 NOTE: Ohio Privacy Laws Prevent Realtors from Providing Terms, Conditions and Other Matters Concerning Sales
 or Financing Concessions.
 The comparable sales have amenities and appeal similar to the subject. Each was confirmed and closed at
 arms-length. Those used were considered to be the most reliable. Additional data is contained in the appraiser's
 files.
 Appropriate adjustments were then made to the comparable sales based on abstracted market data. After applying
 the adjustments, the sales were then correlated for an indication of market value for the subject property.

 Additional Conditions of the Appraisal:
 A physical inspection has been made of the subject property, as defined herein. Any major deferred maintenance or
 items of concern have been identified accordingly. However, it should be noted that the appraiser is not a
 professional structural engineer, plumber, roofer, electrician, licensed environmental risk screener, infestation
 expert, nor a professional in other related construction fields. Thus, the appraiser makes no warranties or claims as
 to the condition of the mechanicals, roof, appliance, or overall structural integrity of the foundation, dwelling, or
 garage (as applicable).

 Adverse Environmental Conditions:
 This report and subsequent value are based on "no" hazardous conditions existing. The appraiser is not a qualified
 environmental or geological specialist, is not acting as an environmental or geological specialist, and is not
 conducting an environmental or geological assessment/inspection in regard to this summary report. The client is
 advised to retain the services of a professional environmental and/or geological specialist, if so desired.
 The presence of an hazardous substance could affect the value estimate herein reported. "Hazardous Substances"
 means, at any time (a) any "hazardous substance" as defined in 5101 (14) CERCLA (42U1S.C.S9601 (14) ) or
 regulations promulgated thereunder; (b) any "solid waste", "hazardous waste", or "infectious waste", as such terms
 are defined in any other environmental law at such time; (c) petroleum products, asbestos, lead or lead-based
 paint/products, mold, urea-formaldehyde, chemical waste, radon gas, radioactive material, explosives, known
 carcinogens, petroleum products and by-products and other dangerous, toxic, or hazardous pollutants,
 contaminates, chemicals, materials or substances listed or identified in, or regulated by any environmental law; and
 (d) any additional substances or materials which at such time are classified or considered to be hazardous or toxic
 under any environmental law or public perception.




                                           Form TADD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                         Subject Photo Page
Borrower           N/A
Property Address   10038 State Route 775
City               Scottown                                     County Lawrence                                State OH      Zip Code 45678
Lender/Client      Zingarelli Law




                                                                                                                          Subject Front
                                                                                                                10038 State Route 775
                                                                                                                Sales Price
                                                                                                                Gross Living Area 2,296
                                                                                                                Total Rooms       8
                                                                                                                Total Bedrooms    3
                                                                                                                Total Bathrooms   2
                                                                                                                Location          Windsor Twp.
                                                                                                                View              Similar Homes
                                                                                                                Site              1.76 Acres
                                                                                                                Quality           Average
                                                                                                                Age               51 Yrs.




                                                                                                                           Subject Rear




                                                                                                                          Subject Street




                                       Form PIC3x5.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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Borrower           N/A
Property Address   10038 State Route 775
City               Scottown                                     County Lawrence                                State OH      Zip Code 45678
Lender/Client      Zingarelli Law




                                                                                                                          Subject Garage
                                                                                                               10038 State Route 775
                                                                                                               Sales Price
                                                                                                               Gross Living Area 2,296
                                                                                                               Total Rooms       8
                                                                                                               Total Bedrooms    3
                                                                                                               Total Bathrooms   2
                                                                                                               Location          Windsor Twp.
                                                                                                               View              Similar Homes
                                                                                                               Site              1.76 Acres
                                                                                                               Quality           Average
                                                                                                               Age               51 Yrs.




                                                                                                                        Subject Garage Rear




                                                                                                                    Daughters Mobile Home




                                       Form PIC3X5.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                 Building Sketch
Borrower                N/A
Property Address        10038 State Route 775
City                    Scottown                                      County Lawrence                                State OH           Zip Code 45678
Lender/Client           Zingarelli Law




                                     28'
             30'




                                   Garage




                                     28'



                                                                                                                                              Porch




                                                                                     Full     Full                                                Laundry
                                                                                                        Bedroom               Kitchen
                                                                       Family        Bath    Bath                                                              28'




                                                                        Room     Kitchen
                                                                                              Den       Bedroom        Living Room          Bedroom




                                                                                                           82'
                                                                                                                                          Porch




 TOTAL Sketch by a la mode, inc.                                    Area Calculations Summary
Living Area                                                                                                      Calculation Details
First Floor                                                             2296 Sq ft                                                                          28 × 82 = 2296

Total Living Area (Rounded):                                            2296 Sq ft
Non-living Area
Open Porch                                                               150 Sq ft                                                                          25 × 6   =   150

Covered Porch                                                             72 Sq ft                                                                          12 × 6   =    72

2 Car Detached                                                           840 Sq ft                                                                          28 × 30 =    840




                                            Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                      Comparable Photo Page
Borrower           N/A
Property Address   10038 State Route 775
City               Scottown                                     County Lawrence                                State OH       Zip Code 45678
Lender/Client      Zingarelli Law




                                                                                                                          Comparable 1
                                                                                                                8615 State Route 7
                                                                                                                Prox. to Subject  7.37 miles SE
                                                                                                                Sales Price       117,000
                                                                                                                Gross Living Area 1,571
                                                                                                                Total Rooms       7
                                                                                                                Total Bedrooms    3
                                                                                                                Total Bathrooms   2
                                                                                                                Location          Rome Twp.
                                                                                                                View              Similar Homes
                                                                                                                Site              1.0 Acres
                                                                                                                Quality           Average
                                                                                                                Age               51 Yrs./Similar




                                                                                                                          Comparable 2
                                                                                                                1062 County Road 104
                                                                                                                Prox. to Subject  7.53 miles SW
                                                                                                                Sales Price       125,000
                                                                                                                Gross Living Area 1,900
                                                                                                                Total Rooms       8
                                                                                                                Total Bedrooms    4
                                                                                                                Total Bathrooms   2
                                                                                                                Location          Union Twp.
                                                                                                                View              Similar Homes
                                                                                                                Site              1.80 Acres
                                                                                                                Quality           Average
                                                                                                                Age               52 Yrs./Similar




                                                                                                                          Comparable 3
                                                                                                                11767 State Route 217
                                                                                                                Prox. to Subject  1.26 miles SE
                                                                                                                Sales Price       115,000
                                                                                                                Gross Living Area 982
                                                                                                                Total Rooms       5
                                                                                                                Total Bedrooms    2
                                                                                                                Total Bathrooms   2
                                                                                                                Location          Windsor Twp.
                                                                                                                View              Similar Homes
                                                                                                                Site              2.5 Acres
                                                                                                                Quality           Average
                                                                                                                Age               67 Yrs./Similar




                                       Form PIC3x5.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                            Location Map
Borrower           N/A
Property Address   10038 State Route 775
City               Scottown                                    County Lawrence                               State OH   Zip Code 45678
Lender/Client      Zingarelli Law




                                       Form MAP.LOC - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                             License




                     Form SCNLGL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
